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                                    Appendix A:
  Memorandum in Support of Petitioner Kayla Ayers First Amended Petition for Writ of
                                  Habeas Corpus:

       In October 2012, Kayla Ayers was at home with her young son when a mattress in the

basement of the home caught fire. The fire was quickly extinguished. In early 2013, Ms. Ayers

was convicted of aggravated arson, based primarily on expert testimony that the fire had two

distinct points of origin, and therefore could not have been accidentally started by a cigarette or

by Ayers’ young son.

       This expert testimony was almost entirely false. In fact, there is no scientifically valid

evidence indicating that the fire had two points of origin, and in violation of Crim.R.16(K), the

State did not present the expert’s complete conclusions to Ms. Ayers’ counsel prior to trial.

Furthermore, defense counsel neither consulted with its own fire expert, nor objected to the

previously undisclosed “expert” conclusions offered at trial. As a result, the jury based its

verdict on entirely false—but unchallenged—conclusions about the source of the fire.

       Ms. Ayers’ conviction rests on false evidence, presented in violation of Ohio Criminal

Rules of Procedure, and entered into the record without objection. She did not receive a fair trial

as guaranteed by the Fifth, Sixth, and Fourteenth Amendments to the United States Constitution

and by the Ohio Constitution. Her conviction should be vacated and the matter set for further

proceedings.


                                   STATEMENT OF FACTS

   A. The Fire

       On October 3rd, 2012, at 8:21 P.M., the Massillon Fire Department received a report of a

fire on 26th St. in Massillon, OH. Massillon Fire Department Summary Call Sheet, attached as




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Exhibit A to Ms. Ayers’s Ohio Crim.R. 33(B) Motion for Leave, at 120.1 Multiple suppression

units and an ambulance were dispatched. Id. The first suppression units arrived at the house at

8:28 P.M. See id, see also Massillon Fire Department Response Record, attached as Exhibit B to

Ms. Ayers’s Ohio Crim.R.33(B) Motion for Leave, at 118. They quickly extinguished the fire,

which was isolated to a mattress in the basement corner. See id. at 119.

       The only people home at the time of the fire were Kayla Ayers and her three-year-old

son, Brennan Jr. (a.k.a. “Bubba”). See Massillon Police Department Incident Report- Part 2

(“Incident Report”), attached as Exhibit C to Ms. Ayers’s Ohio Crim.R.33(B) Motion for Leave,

at 127. Kayla sustained a laceration on her hand after she slipped and broke a glass of water

while trying to extinguish the fire herself. Massillon Fire Department EMS Run Report (“EMS

Report”), attached as Exhibit D to Ms. Ayers’s Ohio Crim.R.33(B) Motion for Leave, at 121.

Brennan Jr. was completely unharmed. See Incident Report at 127.

       Initial reports from the scene state that Kayla was disoriented and frantic about the

possibility of losing custody of her children. See State of Ohio v. Kayla Ayers, Case No.

2012CR-1567, Trial Transcripts (“Tr.”), attached as Exhibit E to Ms. Ayers’s Ohio Crim.R.33(B)

Motion for Leave, at 362. Her neighbor, Jennifer Conley, stated that Kayla kept “repeating was

she going to lose—Am I going to lose my kids, am I going to lose my kids?” Id. at 360. She also

reported that she thought she smelled marijuana on Kayla’s breath. Id. at 362. A member of

Kayla’s church, Karen Ball, testified that Kayla had not answered the door when she showed up

earlier that day to take Brennan to church. Id. at 378-379.




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 The complete record, as cited in Ms. Ayers’s Memorandum, will be submitted with the
Respondent’s Return of Writ. Ms. Ayers also requests the Court permit her to expand the record
at an appropriate time, pursuant to Rule 7 of the Rules Governing Section 2254 Cases in Federal
District Courts.
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       Kayla was treated at Affinity Hospital and discharged that night. EMS Report at 121-123.

While at the hospital, Kayla was interviewed by Massillon Fire Inspector Reginald Winters and

Massillon Police Dept. Sgt. Muntean. See Massillon Fire Department Interview Report, attached

as Exhibit F to Ms. Ayers’s Ohio Crim.R. 33(B) Motion for Leave, at 124. Initially, Kayla

claimed that she had been doing laundry in the basement, and when she turned around, she

noticed her son Brennan had started the fire. See Id. Inspector Winters interviewed three-year-old

Brennan Jr. later that evening. Tr. at 270. Winters confirmed that Brennan Jr. was able to

light a cigarette lighter. Id. at 282. Although Brennan Jr. denied starting the fire, he did confirm

that his mother was sleeping just before the fire started. Massillon Police Department Narrative

Supplement (“Narrative Supplement”), attached as Exhibit G to Ms. Ayers’s Ohio Crim.R. 33(B)

Motion for Leave, at 128.

       The next day, the neighbor Jennifer Conley called police and told them that Kayla and

her family were at the property in violation of the fire department’s instructions. Tr. At 271. Two

Massillon police officers arrived along with Inspector Winters. See e.g. Tr. at 196-197 and 271.

At the scene, Inspector Winters spoke with Jeff Ayers, Kayla’s father. Jeff claimed that several

weeks before, during a fight, Kayla told Jeff, “if you leave again, I’ll burn this motherfucker

down.” See Massillon Fire Department Voluntary Statement, attached as Exhibit H to Ms.

Ayers’s Ohio Crim.R. 33(B) Motion for Leave, at 7. Another neighbor, Jason Pandrea, testifying

about this same instance, said Kayla told her father she would “burn the house down.” See Tr. at

310, 339. According to Pandrea, “it was more kind of a laugh or a joke kind of thing,” and “it

was like she meant it, but she didn’t.” Id. at 340.

       Officers asked Kayla to come with them to the police station, where she was interviewed

again. In the interview, Police Detective Ricker told Kayla he did not believe she set the fire



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intentionally, but instead suggested that Kayla must have started it due to her own carelessness.

See video file: Kayla Ayers Police Station Interview attached as Exhibit I to Ms. Ayers’s Ohio

Crim.R. 33(B) Motion for Leave, (10/04/2012) at 01:21:00-01:29:00. After questioning, Kayla

admitted that she “may have fallen asleep” before the fire, but insisted that when she woke up

she did what she could to put it out. Narrative Supplement at 128. That day, Kayla was arrested

and charged with aggravated arson and endangering children. Kayla Ayers Docket Entry

(“Docket”), attached as Exhibit J to Ms. Ayers’s Ohio Crim.R. 33(B) Motion for Leave, dated

10/12/2012 and 11/06/2012. She was unable to post bail and would remain in jail for the next

several months awaiting trial. See Kayla Ayers affidavit (“Ayers Aff.”), attached as Exhibit K to

Ms. Ayers’s Ohio Crim.R. 33(B) Motion for Leave, at ¶ 3.

   B. Pre-trial Disclosure and Trial

       Kayla pleaded not guilty to all charges. Docket on 11/09/2012. The Stark County Public

Defender’s Office was appointed as counsel, and Attorney Kristina Powers was assigned. Id.

Defense counsel made multiple requests for discovery in the months leading up to the trial. Id.

The defense requested discovery on November 9, 2012 – over two months before trial started. Id.

They received discovery documents from the state on November 15, November 19, December

14, and January 17 – the last disclosure just nine days before trial. See Docket on 11/15/2012,

11/19/2012, 12/14/2012, and 01/17/2012.

       Throughout this period, Kayla remained in jail, and her trial was continued several times.

Trial was originally set for December 3, 2012 but was rescheduled first to December 27, 2012

and then again to February 4, 2013. Docket on 11/07/2012, 11/28/2012, and 1/14/2012. The trial

was rescheduled once more and finally held on January 28, 2013. Docket on 01/16/2013.




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In mid-January 2013, less than two weeks before trial, Kayla’s defense was assigned to a new

attorney at the public defender’s office, Matthew Kuhn. Id. In the 100 days leading up to trial,

neither Ms. Powers nor Mr. Kuhn consulted with an independent arson expert. Proffer of

Testimony of Attorneys Kristina Powers and Matthew Kuhn, attached as Exhibit L to Ms.

Ayers’s Ohio Crim.R. 33(B) Motion for Leave.

           1.   Testimony & Conclusions of Inspector Reginald Winters

       The core of the State’s case at trial was the testimony of Fire Inspector Reginald Winters.

Winters testified that he had approximately 70 hours of fire investigation classes, combined with

just over ten hours per year of continuing education. Tr. at 227-228.

       When he examined the fire in Kayla’s home, Winters noticed an “unusual burn pattern”

on the mattress, which he diagnosed as the first point of ignition:

       “Well, I had noticed that [the northeast side of the mattress] had a heavier
       char pattern where the springs—what we call—I’ll try to explain it to you,
       it’s called calcination. It’s basically where the fire burned so hot that it will
       turn the springs white and they’ll collapse. And on that end I had noticed
       where the fire had burnt the hottest and it traveled westward. Like it was—
       there’s where, right there, made a conclusion that I had a fire start there that
       was low and it started there and traveled west toward the wall because that’s
       where the material was at, that it was consuming as it was burning.” Id. at
       240-241.

According to Winters, a separate and distinct ignition occurred near a wooden post, next to

where a door had been leaning against the bed:

       “If you look at [the post], you have the concrete floor, you go up and you
       have concrete, kind of pyramid, and then right there you can see a clear
       point of the V-pattern that I was telling you about, the starting point right
       there, the origin. *** [The V-pattern] is telling me the point of origin of a
       fire consistent [sic] where the fire started. It started low and it started
       climbing the post with the heavy charring and stuff like that.” Id. at 245-
       246.


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Winters confirmed that his “certified arson opinion” was that the fire started in two separate and

distinct locations, and that the cause of the fire was “incendiary.”2 Id. at 249-250.

       On cross examination, defense counsel questioned Inspector Winters about an initial

Executive Summary and report from his office. Id. at 282-285. The Initial Report claimed that

the fire started on the first floor, and that ignitable liquid vapors or gasoline were used as an

accelerant. See Defendant’s Trial Exhibit A, attached as Exhibit M to Ms. Ayers’s Ohio Crim.R.

33(B) Motion for Leave. Winters acknowledged that the Initial Report was incorrect, but

explained that the summaries on these documents were “typo[s],” where old information from

prior reports had not been removed. Tr. at 285.

       On redirect, the prosecution asked Inspector Winters to read his “final” Executive

Summary. Id. at 296. Defense counsel objected, asking whether this document had been

provided. At sidebar, the prosecution answered:

       Mr. Barr: Provided in discovery, Your Honor, the origin and cause report,
       and I’m asking him [Winters] to read this based upon the cross-examination
       of documents that I believe he [Mr. Kuhn] received from Massillon
       Municipal Court that were not the final report and that contain typographical
       errors. I believe the jury needs to know this.

       The Court: Okay. Do you want to take a look at this?

       Mr. Kuhn: Yeah, if I could.
       Mr. Barr: There is the discovery [November] 15, 2012, it indicates origin
       and cause from Massillon Fire Department. The document he has, we don’t
       have in our file. This is the only document we could have given him.

       Mr. Kuhn: Yeah, I’ll do that real quick.


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  Winters also testified that, although Kayla did not have any soot on her arms and hands, swabs
of her nostrils supposedly showed “light soot.” Tr. at 268. Winters testified that he “did not
observe” any soot when talking to Brennan Jr. at the neighbor’s house later that night. Id. at 270.
By that time, however, Jennifer Conley had already bathed Brennan and changed his clothes. See
id. at 363.
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             ***
       Mr. Kuhn: If we signed for them, we signed for them.

       The Court: If you could approach for just a minute *** Put on the record
       with respect to the document with which Mr. Winters is being currently
       examined regarding it appears as though the Defense did sign for the report,
       and therefore, you are permitted to cross-examine him.” See id. at 297-300.

       The State then asked Inspector Winters to read his entire Executive Summary into the

record. According to the Executive Summary, the fire was “incendiary” and started on the

mattress:

       “After examination of the fire scene it was determined the fire originated in
       the basement on the bed. After examination of the fire scene, interviewing
       witnesses, interviewing the insured and using the levels of scientific
       certainty as discussed in the 2011 edition of NFPA 921; A Guide for Fire
       and Explosion Investigation, it is my opinion the ignition source for the fire
       was some type of open flame. The materials first ignited were blankets on
       the bed. The act or omission that brought the ignition source and the
       materials first ignited together was the deliberate act of a person or persons.
       Using these elements of a fire cause, the cause of the fire is incendiary.” Id.
       at 300-301.

Neither the Initial Report nor the final Executive Summary and Report mentioned Winters’

conclusion that the fire had multiple points of origin. Id. at 297-301. See Defendant’s Trial

Exhibits A & D, attached as Exhibit M & N to Ms. Ayers’s Ohio Crim.R. 33(B) Motion for

Leave. After the confusion surrounding the Initial Report, defense counsel did not offer any

further objection to the substance of Winters’ testimony, nor did he challenge Winters’

conclusion that the fire was started in two separate places. Tr. at 301.

            2.   Closing Arguments

       Winters’ conclusion regarding the alleged multiple points of origin became the

centerpiece of the State’s closing argument. Specifically, the State argued that if the fire had two

separate and distinct points of origin, then an accidental fire was practically impossible:

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       “I’ll also remind you that common sense, your common sense, doesn’t fly
       out the window when you walk in this courtroom. If you fall asleep and
       you drop a cigarette on a mattress, it starts a fire right? It’s common sense.
       It doesn’t jump and start another fire, it’s not possible. .*** There are
       two separate and distinct origins here according to the expert,
       according to the pictures. Fire doesn’t jump like that. So everything
       was ruled out except incendiary, and that was to a reasonable degree of
       scientific certainty.” Id. at 426. (emphasis added).

The two points of origin theory was also critical to the State’s argument that Brennan Jr. (a.k.a.

“Bubba”) could not have started the fire. Specifically, the State argued that Brennan Jr. would

have gotten soot on him if he had started a second fire while the first fire was already burning:

       “And, again, common sense. You believe that first story that the defendant
       said, “Bubba started the fire,” he would have to hold a lighter like you
       remember Inspector Winters demonstrating how he had to hold that lighter?
       He had to hold the lighter, ignite the mattress, then go and start a second
       fire, the whole time, no soot, no smoke, not getting burned? Impossible.
       They all told you, the firefighters told you, he would have something on him
       because if he was exposed to that fire, that smoke, he would have something
       on him. He had nothing. Because remember when—he has to start that
       second fire, the first point of origin is burning.” Id. at 426-427. (emphasis
       added).

       During its rebuttal, the State continued to stress the importance of Winters’ expert

opinion in proving Kayla’s guilt:

       “We have a criminal justice system because criminals, even ones whose
       guilt have been overwhelmingly proven to you, like Kayla Ayers, don’t
       always admit that guilt. And this system requires experts, like Mr.
       Winters, who have to come in here and give you your opinion—their
       opinion so that you can make decisions beyond a reasonable doubt.” Id.
       at 449. (emphasis added).

       Again, the State emphasized Winters’ conclusion regarding multiple points of origin

ruled out an accidental fire:




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       “There’s one [point of origin] right there. And there’s the second one right
       there. But, wait, oh, it’s an accident. An accident that started twice. So she
       must have been smoking two cigarettes, one for each hand, and then threw
       one on this side of the bed and one on this side of the bed, when that
       becomes her part of the story.” Id. at 450.

       The State also re-emphasized that, with a barrier blocking a portion of the bed, three-

year-old Brennan could not have lit the mattress on fire in multiple places:

       “[T]here’s only two other plausible explanations as it’s been stated, that it
       was a cigarette, but it had to be two cigarettes because we got two points of
       origin because fire doesn’t hop from one side to the other, so the other
       plausible explanation is Bubba started the fire.
       So Bubba had to crawl over that mattress and get over here first and light
       this fire. And then he can’t crawl over that door there because that’s a door
       that sits high, it’s a regular door just like that door right there, sitting on its
       side, you know how hard it would be for you to throw your leg over it and
       now you’re going to ask a three-year-old to crawl over that without
       knocking it over? So then he has to crawl over that burning mattress and
       come over here to the front side of it and light this part on fire. That’s
       plausible? No.” Id. at 454-455.

       Defense counsel argued that the State had not proven its case beyond a reasonable doubt

and insisted that the fire might have been started by Brennan or by an unattended cigarette butt.

Id. at 447. But Kayla’s attorney did not attempt to counter any of the State’s specific arguments

regarding the fire’s alleged multiple points of origin. Id. at 447-448. Instead, the defense asked

the jury to note that Inspector Winters only claimed to offer “scientific certainty,” not “absolute

certainty.” Tr. 437-38, 448. The jury returned a guilty verdict against Kayla on aggravated arson

and endangering children charges. Id. at 482-483.

       At sentencing, Kayla continued to maintain her innocence, explaining that she only went

to trial “because I really didn’t do it so I was sure I wouldn’t be found guilty.” Tr. at 493-494.

She was sentenced to seven years’ imprisonment, with three years’ post-release control.



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Throughout the investigation, trial, and appeals, Kayla has consistently maintained her

innocence. Ayers Aff. at ¶11.

   C. 2019 Report

       John Lentini is one of the foremost forensic arson experts in the United States. He is the

former chair of the Forensic Science Committee for the International Association of Arson

Investigators, and he was selected by the U.S. Justice Department to serve on a planning panel to

recommend national standards for fire and arson investigation. Affidavit of John Lentini,

attached as Exhibit O to Ms. Ayers’s Ohio Crim.R. 33(B) Motion for Leave, at ¶ 4-5. Lentini

wrote one of the primary textbooks on fire investigation, Scientific Protocols for Fire

Investigation, which is currently in its third edition. Id. at ¶ 6. He also served as a principal

Member of the National Fire Protection Association, and for twenty years he served on the

technical committee responsible for drafting the NFPA 921, Guide to Fire and Explosion

Investigation— the same guide Inspector Winters supposedly relied on for his procedures and

conclusions. Id. at ¶ 4.

       In 2019, Mr. Lentini reviewed the 2013 testimony and summary conclusions of Inspector

Winters and produced a report. According to Lentini’s analysis, “the expert testimony presented

to the jury by Mr. Winters was unreliable, unscientific, and at odds with generally accepted fire

investigation methodology.” Id. at ¶ 32. Specifically, Lentini concludes “unequivocally and to a

reasonable degree of professional certainty” that:

               (1) “The proposition that this fire had two points of origin is

               unsupportable by any generally accepted methodology,”

               (2) “Mr. Winters used circular logic to conclude that the fire could

               not have been set by Ms. Ayers’s son Brennan,”



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                  (3) “Despite claiming to follow NFPA 921, Mr. Winters

                  disregarded its guidance in several important ways,” and

                  (4) “Mr. Winters demonstrated by his testimony that he is not

                  qualified to investigate fires per NFPA 1033, the generally accepted

                  industry standard.” Id. at ¶ 9.

None of these conclusions were ever put before either the Court or the jury during Ms. Ayers’s

original trial.

    D. State Post-conviction Proceedings

        On April 13, 2020, Ms. Ayers submitted two filings to the Court of Common Pleas for

Stark County, Ohio: a Motion for Leave to File a Motion for New Trial pursuant to Ohio

Crim.R.33(B), and a Petition for Postconviction Relief pursuant to Ohio Rev.Code 2953.21-23.

In these state proceedings, Ms. Ayers asserted claims of ineffective assistance of counsel,

prosecutorial misconduct, actual innocence, and a violation of her due process rights by the

State’s use of inherently untrustworthy evidence. The State of Ohio received six separate

extensions of time to respond, and the matter was eventually fully briefed by March 2021.

        On November 2, 2021, the trial court entered a “Judgment Entry Denying Defendant’s

Petition for Post-Conviction Relief and Motion for Leave to File for New Trial.” 11/02/21

Judgment Entry. Regarding the Petition for Postconviction Relief, the trial court held that it

lacked jurisdiction to consider Ms. Ayers’s claims because she “was not unavoidably prevented

from discovering the facts upon which she relie[d] to present her claims for relief” pursuant to

R.C. 2953.23(A). Id. at 4. The trial court also found that, even if Ms. Ayers was unavoidably

prevented from discovering the facts supporting her Petition, she “cannot show by clear and

convincing evidence that but for the constitutional error at trial, no reasonable fact finder” would



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have convicted her. Id. Although the trial court acknowledged that its findings deprived it of

jurisdiction to consider the substance of the Petition, it further purported to find Ms. Ayers

claims were “barred by res judicata and are without merit.” Id.

       The trial court also denied Ms. Ayers’s Motion for Leave to File a Motion for New Trial,

on grounds that Ms. Ayers did not show by clear and convincing evidence “that she was

prevented from filing a motion for new trial or discovering the evidence she now, eight years

later, requests to present.” Id. On November 29, 2021, Ms. Ayers filed a timely Notice of Appeal

to the Ohio Court of Appeals Fifth Appellate District.

       On appeal, the Fifth District affirmed the denial of both Ms. Ayers’s Petition for

Postconviction Relief and her Motion for Leave to File a Motion for New Trial. State v. Ayers,

5th Dist. Stark No. 2021CA00134, 2022-Ohio-1910, 2022 WL 1946586 (June 6, 2022). The

appellate court declined to reach the issue of whether Ms. Ayers was “unavoidable prevented”

from having discovered the Lentini affidavit supporting her claim. Instead, the court held Ms.

Ayers’s petition for postconviction relief was properly denied, because it failed to satisfy the

jurisdictional prerequisite set by Ohio Rev. Code § 2953.23. Specifically, the appellate court

held that Ms. Ayers had not proven by clear and convincing evidence, that but-for the alleged

constitutional violations, no reasonable factfinder would have convicted her.

       With regards to the Motion for Leave to File a Motion for New Trial, the Fifth District

declined to address the standard set forth in Ohio Crim.R.33(B). Instead, the appellate court held

that, had Ms. Ayers been permitted to file a motion for new trial, the hypothetical future motion

would be “an exercise in futility.” Id. at ¶121. Specifically, the court stated a future motion for

new trial would be rejected based on the “no reasonable factfinder” standard, normally applied to

delayed or successive post-conviction petitions under Ohio Rev. Code Sec. 2953.23.



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       On July 19, 2022, Ms. Ayers filed a timely notice of appeal to the Ohio Supreme Court.

The court declined jurisdiction on September 27, 2022. State v. Ayers, 167 Ohio St.3d 1528

(Ohio 2022).

   E. Federal Habeas Proceedings

       Ms. Ayers originally filed her Petition for Writ of Habeas Corpus in the Federal District

Court for the Northern District of Ohio on July 27, 2020. On December 3, 2020, the Court

granted Ms. Ayers’s motion to hold her petition in abeyance while she pursued relief in Ohio

court. On November 29, 2022, the Court ordered Petitioner to notify the Court as to her intent to

pursue her petition in federal court. Ms. Ayers filed a Motion to Lift Stay on December 2, 2022,

and on December 6, 2022, this Court entered a scheduling order permitting Petitioner to file an

Amended Petition within fourteen days.

                                 CUSTODY AND STANDING

       Ms. Ayers was sentenced to seven years’ imprisonment and three years’ post-release

control. Having served her term of imprisonment, Ms. Ayers was released from state prison on

August 22, 2019. She remained on direct state custody, on post-release control, through August

22, 2022. A person subject to “post-release control” is “in custody” for purposes of AEDPA. In

re Stansell, 828 F.3d 412, 416 (6th Cir. 2016)

       Even after the expiration of her sentence, Ms. Ayers will continue to suffer specific,

concrete harm as a result of her unconstitutional felony conviction. See, e.g., Ohio Rev. Code

Sec. 2909.15 (requiring arson offenders to register annually with the state “until the offender's

death.”); Ohio Rev. Code Sec. 4723.092 (categorically barring felons convicted of aggravated

arson from obtaining a nursing license); Ohio Rev. Code. Sec. 4765.301 (categorically barring

people convicted of arson from being appointed as emergency medical technicians); Ohio Rev.



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Code Sec. 2923.13 (prohibiting anyone convicted of a violent felony from owning or carrying a

firearm). The injuries Ms. Ayers currently suffers have continued beyond her post-release

control, and those injuries are directly tied to the violation of her constitutional rights at trial.

This court has standing to address and rectify those harms. Gentry v. Deuth, 456 F.3d 687, 693-

95 (6th Cir.2006).

                            EXHAUSTION OF CURRENT CLAIMS

        A petitioner must first exhaust constitutional claims in state court before seeking habeas

relief in federal court pursuant to 28 U.S.C. § 2254. Id. At (b)(1)(A). Although habeas

petitioners generally do not need to demonstrate exhaustion in pleadings, a court may sua sponte

consider the issue when failure to exhaust is apparent. See, e.g., Carter v. Cheeks, No. 21-1171,

2021 WL 3671139 at *1 (unreported)(6th Cir.July 23, 2021). State court remedies are

“exhausted” when they can no longer be pursued in state court, “regardless of the reason for their

unavailability.” Shinn v. Ramirez, 142 S.Ct. 1718, 1732, 212 L.Ed.2d 713 (2022).

        The present claims have been fully exhausted in Ohio courts. Each constitutional claim

was fairly presented to the Stark County Court of Common Pleas in April 2020. She timely

appealed the denial of those claims through the intermediate Ohio appellate court and the Ohio

Supreme Court. State v. Ayers, 2022-Ohio-1910, 2022 WL 1946586. The Ohio Supreme Court

declined to accept jurisdiction over the matter on September 27, 2022. State v. Ayers, 167 Ohio

St.3d 1528 (Ohio 2022). Ms. Ayers has unsuccessfully attempted to obtain relief from Ohio

courts, and her claims are now exhausted for purposes of 28 U.S.C. §2254(b)(1)(A).




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             FIRST CLAIM: INEFFECTIVE ASSISTANCE OF COUNSEL—
          FAILURE TO CONSULT AN INDEPENDENT ARSON EXPERT &
         FAILURE TO OBJECT TO INADMISSIBLE “EXPERT” TESTIMONY

       Criminal defendants are guaranteed effective counsel by the Sixth Amendment to the

United States Constitution. Strickland v. Washington, 466 U.S. 668, 104 S.Ct. 2052 (1984).

Whether defense counsel is constitutionally ineffective is a two-prong test. A new trial should be

granted where (1) defense counsel performance is objectively deficient, and (2) that deficiency

prejudices the defendant. Defense counsel’s performance is deficient if it falls below objectively

reasonable professional standards. Id. at 688-89. A criminal defendant is prejudiced by

ineffectiveness if, but -for the attorney’s deficient performance, the defendant would have had a

“reasonable probability” of a different outcome.

       Here, the State’s case depended heavily on expert testimony from Inspector Reginald

Winters. Specifically, the State argued that Winters’ “two points of origin” theory conclusively

disproved Ayers’s defenses that the fire had been started by her young son Bubba or by accident.

In fact, Inspector Winters’ conclusions were scientifically inaccurate and unsupported.

However, because Ayers’s attorneys failed to consult with an independent arson expert about the

cause and origin of the fire, the jury had no reason to question Winters’ unsupported testimony.

Furthermore, although Winters’ key conclusions were undisclosed and inadmissible pursuant to

Crim.R.16(K), Ayers’s trial counsel did not object to or otherwise challenge the undisclosed

conclusions.

       These deficiencies—individually and cumulatively—prejudiced Ms. Ayers. If her

attorneys had consulted with an expert, they would have found that Inspector Winters’ testimony

was scientifically incorrect and fundamentally unreliable. If her attorneys had been familiar with

Winters’s report, they would have realized his “two points of origin” opinion was not disclosed,



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in violation of Crim.R.16(K), and his testimony would likely have been excluded all together.

Instead, because of defense counsel’s unpreparedness, both the Court and the jury were

presented with an inaccurate—but unchallenged— account of the fire’s origin. Ms. Ayers

deserves an opportunity to present a properly qualified expert to a new jury, and her petition

should be granted.

   A. Ayers’s counsel was deficient for failing to consult an independent arson expert.

       The United States Supreme Court has recognized that the failure to consult with an expert

can be ineffective assistance of counsel. Harrington v Richter, 562 US 86, 106, 131 S.Ct. 770

(2011) (“[Criminal cases will arise where the only reasonable and available defense strategy

requires consultation with experts or introduction of expert evidence, whether pretrial, at trial, or

both.”). For defense counsel’s handling of expert witnesses, ineffectiveness generally falls into

one of two categories: (1) cases where the defense fails to present an independent defense expert

at trial, and (2) “that most egregious type [of ineffectiveness], wherein lawyers altogether fail to

hire an expert.” Richey v. Bradshaw, 498 F.3d 344 (6th Cir.2007).

       The latter category—complete failure to consult an expert-- is especially likely to be

prejudicial error. Under Ohio law, defense attorneys can consult with an expert privately and at

State expense. State v. Kopchak, 2018-Ohio-1136, ¶21 (5th Dist.). As a result, while there may

be circumstances where defense counsel may choose not to produce an independent expert to

testify, there is rarely strategic justification for failing to learn what an independent expert would

say regarding a centrally important forensic issue. Dando v. Yukins, 461 F.3d 791 (“Although

courts are typically required to show heightened deference to an attorney's strategic decisions

supported by professional judgment, where a failure to investigate does not reflect sound




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professional judgment, such deference is not appropriate.”). A competent defense attorney has

no reason to remain “strategically” ignorant about the central forensic conclusion in a case.

       Of course, not every failure to consult an expert rises to the level of constitutional error.

In some cases, other evidence of guilt may be overwhelming, or the defense attorney may have

the knowledge or skill to cross-examine the expert without guidance. E.g., Jackson v.

McQuiggin, 553 Fed.Appx.575. (Failure to call arson expert was not ineffective because the

defense attorney “considered the gains and losses associated with hiring an expert, she educated

herself on principles of arson investigation, consulted with an arson expert, conferred with

defense attorneys, and elicited concessions from Hager on cross-examination.”)

       On the other hand, the duty to consult with an independent expert is heightened when the

scientific issue is important to the State’s case, and/or where defense counsel does not have the

knowledge or expertise to cross examine the expert effectively. Richey v. Bradshaw, 498 F.3d

344 (6th Cir.2007). Additionally, an attorney’s failure to consult an independent expert becomes

especially prejudicial where the State’s expert is unqualified or offers conclusions that turn out to

be false. Defense counsel “has a duty to bring to bear such skill and knowledge as will render

the trial a reliable adversarial testing process.” Strickland, 466 U.S. at 688. “A lawyer who fails

adequately to investigate, and to introduce into evidence, information that demonstrates his

client's factual innocence, or that raises sufficient doubts as to that question to undermine

confidence in the verdict, renders deficient performance.” Richey v. Bradshaw, 498 F.3d 344.

       On similar facts, the Sixth Circuit Court of Appeals has found that failure to consult with

an independent arson expert can amount to ineffective assistance of counsel. Richey v.

Bradshaw, 498 F.3d 344 (6th Cir.2007); see also, Dugas v. Coplan, 428 F.3d 217, 328 (1st

Cir.2005). In Richey, an Ohio man was convicted of aggravated felony murder for allegedly



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setting fire to a woman’s apartment and killing her daughter. The State of Ohio introduced two

experts who testified that the fire pattern indicated use of chemical accelerants. Id. at 347-48.

For its part, the defense consulted with a single witness, who did not have any specific

experience in arson investigations, and who ultimately agreed with the State’s arson conclusion.

Id. After Richey was convicted, his postconviction attorneys consulted two additional

independent arson experts. Those experts concluded that the State’s witnesses “use flawed

scientific methods not accepted in the fire-investigation community.” Id. According to these

experts, a discarded cigarette could have caused the fire. Id. at 348.

       The Sixth Circuit Court of Appeals held that Richey’s trial counsel was constitutionally

ineffective for failing to consult with a competent expert. Although Richey’s counsel did hire an

expert, he ultimately “failed to know what his expert was doing to test the State’s arson

conclusion, *** failed to work with the expert to understand the basics of the science involved, at

least for purposes of cross examining the State’s experts, and [failed] to inquire about why his

expert agreed with the State.” Id. at 362. The court could “discern no strategic reason why

counsel would have so readily ceded [the existence of arson]” under those circumstances. Id. at

363. The Sixth Circuit acknowledged that the conviction could have been sustained based on

witness testimony—specifically, that Richey had threatened to “torch” the building earlier that

night. Under the Strickland standard, however, the issue was “not one of the sufficiency of the

evidence, but of undermining our confidence in the reliability of the result.” Id. at 364. Given

the centrality of the “expert” arson testimony to Richey’s conviction, defense counsel’s failure to

consult with additional experts was prejudicial. Id.

       Richey is directly applicable here. As in Richey, Ayers’s conviction was based primarily

on faulty “fire science” testimony from an arson investigator. As in Richey, Ayers’s counsel



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completely failed to cross examine State’s witnesses regarding the serious flaws in their

conclusions. As in Richey, the State’s expert’s conclusions were unsupported and fundamentally

flawed. Finally, in both cases, the jury never heard evidence that would have undermined, if not

completely disproven, the State’s theory of the fire.

       In fact, insofar as the cases are different, Ayers presents a more extreme version of

ineffectiveness. Richey’s trial counsel consulted—albeit halfheartedly—with someone regarding

the State’s arson conclusions. According to the Sixth Circuit, this was not enough; Richey’s

counsel was constitutionally defective for failing to take a more active role in that consultation.

In contrast, Ms. Ayers’s conviction was the result of “that most egregious type [of

ineffectiveness], wherein lawyers altogether fail to hire an expert.” Richey v. Bradshaw, 498

F.3d 344 (6th Cir.2007). In an arson case, with no witnesses, and where the defense knew

Inspector Winters would be the centerpiece of the State’s case, Ms. Ayers’s counsel did not even

bother to find out what an independent arson expert would have said about the origin of the fire.

Given defense counsel’s weak cross examination, and his seeming unfamiliarity with principles

of arson investigations, there was no discernible “strategic” justification for his failure to seek

out an expert opinion on the actual origin of the fire.

       Furthermore, defense counsel’s ignorance was as costly to Kayla Ayers as it was to the

defendant in Richey. Prosecutors in Ayers’s case spent a large part of their closing argument

reinforcing Winters’ conclusions. They insisted that Winters’ testimony was critical to their case

against Ayers. E.g., tr. at 449. (“[The criminal justice system] requires experts, like Mr. Winters,

who have to come in here and give you your opinion—their opinion so that you can make

decisions beyond a reasonable doubt.”) And they emphasized repeatedly that Winters’ “two

points of origin” conclusion disproved both defense theories of the fire. In fact, if Ayers’s



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counsel had consulted with an independent expert, he would have been able to present evidence

that Inspector Winters was “not qualified to investigate fires per NFPA 1033, the generally

accepted industry standard,” and his “two points of origin” conclusion—the foundation of the

State’s case—was “unsupportable by any generally accepted methodology.” Lentini Report at ¶

9.

        Stripped of the faulty forensic conclusions, the remaining circumstantial case is weaker

against Ayers than it was in Richey. In Richey, the defendant had specifically threatened to

“torch” the victim’s apartment when she ended their relationship the night of the fire.

Nonetheless, given the importance of the faulty forensic testimony at trial, the Sixth Circuit held

that defense counsel’s failure to challenge that evidence “undermined confidence” in the fair

outcome of the trial. Here, the only circumstantial evidence against Ayers is that she initially

denied being asleep when the fire started,3 and that she allegedly told her father she would “burn

this motherfucker down” during an argument weeks before. This may be “sufficient” evidence

to sustain the conviction, in theory, but it is not the kind of overwhelming evidence that would

preclude Ayers receiving a new trial. Furthermore, in this matter, there is a plausible non-

accidental explanation for the fire: Ayers’s son Bubba knew how to work a lighter, was likely

unattended when the fire started, and, as noted in the NFPA 921, young children are especially

likely to be curious about fire. Under these circumstances, Ayers’s counsel was objectively

deficient for failing to consult with an independent fire investigation expert about the actual

cause and origin of the fire.

     B. Ayers’s counsel was deficient by failing to object to Inspector Winters’ undisclosed
        and unsupported conclusion that the fire had multiple points of origin.


3Kayla indicated after the fire that she was afraid her children were going to be taken away from
her, and in fact, at least one of her neighbors had made prior complaints to Children Protective
Services.
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       By knowingly soliciting undisclosed expert testimony, in violation of Ohio

Crim.R.16(K), the State of Ohio committed prosecutorial misconduct. Supra. Furthermore, by

failing to object to this misconduct, Ms. Ayers’s trial counsel provided constitutionally

ineffective assistance of counsel.

       “The failure to object to prosecutorial misconduct can amount to ineffective assistance of

counsel under Strickland.” Stermer v. Warren, 959 F.3d 704, 736 (6th Cir. 2020). This is

because “when a prosecutor does act unfairly, there is little a defendant can do other than rely on

his or her attorney to lodge an appropriate and timely objection. A failure to make such an

objection can have devastating consequences for an individual defendant.” Id. Failure to object

to inadmissible testimony is especially important where that failure “had a pervasive effect on

the inferences to be drawn from the evidence, altering the entire evidentiary picture.” Strickland,

466 U.S. at 695-96.

       Ohio Crim.R.16(K) provides that:

       “An expert witness for either side shall prepare a written report
       summarizing the expert witness’s testimony, findings, analysis,
       conclusions, or opinion, and shall include a summary of the expert’s
       qualifications. The written report and summary of qualifications shall
       be subject to disclosure under this rule no later than twenty-one days
       prior to trial, which period may be modified by the court for good cause
       shown, which does not prejudice any other party. Failure to disclose the
       written report to opposing counsel shall preclude the expert’s
       testimony at trial.”

The purpose of requiring pretrial disclosure of expert testimony “is to avoid unfair surprise by

providing notice to the defense and allowing the defense an opportunity to challenge the expert's

findings, analysis, or qualifications, possibly with the support of an adverse expert who could

discredit the opinion after carefully reviewing the written report.” State v. Joseph, 73 Ohio St.3d

450, 458, 653 N.E.2d 285 (1995).



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       In this case, Inspector Winters prepared two reports leading up to trial. The first report

contained multiple inaccuracies, including findings that a chemical accelerant was used and that

the fire started on the first floor. The second report, which was the one provided to Ayers’s

counsel in discovery, concluded only that the fire was intentionally set and that it started on the

mattress in the basement.

       Neither written report concludes that the fire had multiples points of origin. The first

report—which stated that the fire started on the first floor using chemical accelerants—was not

disclosed by the State and was specifically disclaimed by the State at trial. The second report

concludes only that the fire started on “blankets on the bed.” The central theme of the State’s

closing argument—that the fire could not have been accidental because it started in two

locations—was never disclosed to the defense prior to trial. Thus, Winters’ testimony regarding

“multiple points of origin” was not only factually incorrect, but it was also raised for the first

time at trial and therefore should have been barred pursuant Crim.R.16(K).

       Defense counsel did not object to Winters’ undisclosed conclusions. In general, courts

should give defense counsel broad latitude to make tactical decisions regarding objections. In

this case, however, Ms. Ayers’s trial counsel did not strategically decide to allow Winters to

testify as to matters outside his report, and then attempt to discredit him during cross

examination. To the contrary, the record suggests that Ms. Ayers’s trial attorney had not even

seen the report that was actually disclosed to the defense in discovery:

       Mr. Barr [to Winters]: Could you read to me the Executive Summary
       contained in your final original report after all the typos—
       Mr. Kuhn: Judge, I’m going to object to this. Is this a document I’ve
       received?
       Mr. Barr: Yes it is, Mr. Kuhn.
       The Court: Could you approach please?
       Mr. Kuhn: Sure
       [A conference was held at the bench outside the hearing of the jury]


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       Mr. Barr: Provided in discovery, Your Honor, the origin and cause report,
       and I’m asking him [Winters] to read this based upon the cross-examination
       of documents that I believe he [Mr. Kuhn] received from Massillon
       Municipal Court that were not the final report and that contain typographical
       errors. I believe the jury needs to know this.
       The Court: Okay. Do you want to take a look at this?
       Mr. Kuhn: Yeah, if I could.
       Mr. Barr: There is the discovery [November] 15, 2012, it indicates origin
       and cause from Massillon Fire Department. The document he has[, the First
       Report], we don’t have in our file. This is the only document we could have
       given him.
       Mr. Kuhn: Yeah, I’ll do that real quick.
       ***
       Mr. Kuhn: If we signed for them, we signed for them.
       The Court: If you could approach for just a minute *** Put on the record
       with respect to the document with which Mr. Winters is being currently
       examined regarding it appears as though the Defense did sign for the report,
       and therefore, you are permitted to cross-examine him.” Tr. 297-300.


Ms. Ayers’s trial counsel prepared his cross examination based on the wrong report.4 There is

no way, even theoretically, that he could have “tactically” decided to waive an objection based

on the scope of the actual Crim.R.16(K) report—a report which he does not appear to have seen

until midway through the State’s redirect examination.

       In fact, there is no conceivable strategy that could explain defense counsel’s failure to

object under these circumstances. The “two points of origin” theory was central to the State’s

case. Of course, knowledgeable and prepared defense counsel could have potentially challenged

this theory through an effective cross examination; Winters’ conclusions are flatly unscientific

and unsupported even under the standards that Winters’ himself cited. Lentini Affidavit. But

Ayers’s counsel was not knowledgeable or prepared. He did not ask Winters a single question

on the topic. Instead, his questions appeared focused on inaccuracies in the “first” report, and his


4
 Defense counsel’s confusion around which report was actually disclosed appears to have been
the grounds for Ineffective Assistance of Counsel alleged on Ayers’s direct appeal. That appeal
was denied because, without any evidence that Winters’ conclusions were faulty, Ayers could
not demonstrate prejudice by her counsel’s performance at trial.
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closing arguments even conceded Winters’ conclusions to a “scientific” certainty. Tr. at 437, 448

Ayers’s trial counsel does not appear to have changed his theme or tactics at all based on

Winters’ actual testimony, despite the State’s emphasis on it. If Ayers’s trial counsel had been

properly prepared, he would have known Winters’ conclusions regarding “multiple points of

origin” were not only factually incorrect and unsupported, but also undisclosed and therefore

inadmissible pursuant to Crim.R.16(K).5

    C. Ayers was prejudiced by the individual and cumulative impact of defense counsel’s
       failures.
       In determining whether these deficiencies warrant a new trial, the question is not

whether, but-for trial counsel’s failures, the State could have offered a minimally sufficient case

to uphold a conviction. Instead, the issue is whether Ms. Ayers received a fair trial, worthy of

confidence. Under Strickland, a new trial should be granted if there is a “reasonable probability”

that, but-for defense counsel’s deficient performance, the outcome of trial would have been

different. Here, both the failure to consult with an expert and the failure to object to undisclosed

expert testimony had the same result: the State was allowed to present faulty, unsupported

conclusions that the fire had multiple points of origin. Whether or not this was “prejudicial”

depends on how important Winters’ faulty conclusions were to the conviction.

       Winters’s “two points of origin” theory was critical to the conviction. The defense theory

at trial was that the fire was caused by either a cigarette or by Brennan Jr. playing with a lighter.

Tr. 447 (“There are two plausible alternative explanations; Bubba did it, [or Kayla] fell asleep

with the cigarette. Careless? Sure. Reckless? Perhaps. Knowingly? Nope. Can’t prove it.”).

The defense, however, conceded Winters’s testimony was scientific—just not 100% certain:


5 Neither the Ohio Crim.R.16(K) violation itself nor trial counsel’s failure to object would have
been properly appealable on Ayers’s direct appeal. Both claims require evidence outside the
record—specifically, evidence that the State’s expert testimony was unscientific and unreliable.
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       [Defense Counsel Kuhn]: “Mr. Winters wasn’t lying, it is his opinion. Okay, I’m
       not saying he’s a liar when he comes in and says that’s his opinion, but it’s not
       absolutely certain. Okay, if it was, we wouldn’t have a jury, we wouldn’t—he
       would be the ultimate authority on whether an arson has been committed or not.
       There would be no criminal justice system, it would just be Reggie Winters, arson
       decider, that would be the end of it, okay. *** Investigator Winters said it was his
       opinion that the manual that he uses uses levels of scientific certainty, not exact
       certainty, not complete proof.” Tr. 437-38, 448.

       In turn, the State used Winters’s “scientifically certain” testimony to demolish the

defense’s case. According to the State’s closing argument, the “two points of origin” conclusion

ruled out the fire being accidentally caused by a cigarette:

       “If you fall asleep and you drop a cigarette on a mattress, it starts a fire
       right? It’s common sense. It doesn’t jump and start another fire, it’s not
       possible. *** There are two separate and distinct origins here according to
       the expert, according to the pictures. Fire doesn’t jump like that. So
       everything was ruled out except incendiary, and that was to a reasonable
       degree of scientific certainty.” Id. at 426.
       ***

       “There’s one [point of origin] right there. And there’s the second one right
       there. But, wait, oh, it’s an accident. An accident that started twice. So she
       must have been smoking two cigarettes, one for each hand, and then threw
       one on this side of the bed and one on this side of the bed, when that
       becomes her part of the story.” Id. at 450.


The State also told the jury that Winters’ “two points of origin” conclusion meant that Ayers’s

son, Bubba, could not have started the fire:

       “And, again, common sense. You believe that first story that the defendant
       said, “Bubba started the fire,” he would have to hold a lighter like you
       remember Inspector Winters demonstrating how he had to hold that lighter?
       He had to hold the lighter, ignite the mattress, then go and start a second
       fire, the whole time, no soot, no smoke, not getting burned? Impossible.
       They all told you, the firefighters told you, he would have something on him
       because if he was exposed to that fire, that smoke, he would have something
       on him. He had nothing. Because remember when—he has to start that
       second fire, the first point of origin is burning.” Id. at 426-427.
       ***




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       “[T]here’s only two other plausible explanations as it’s been stated, that it
       was a cigarette, but it had to be two cigarettes because we got two points of
       origin because fire doesn’t hop from one side to the other, so the other
       plausible explanation is Bubba started the fire.

       So Bubba had to crawl over that mattress and get over here first and light
       this fire. And then he can’t crawl over that door there because that’s a door
       that sits high, it’s a regular door just like that door right there, sitting on its
       side, you know how hard it would be for you to throw your leg over it and
       now you’re going to ask a three-year-old to crawl over that without
       knocking it over? So then he has to crawl over that burning mattress and
       come over here to the front side of it and light this part on fire. That’s
       plausible? No.” Id. at 454-455.

The State emphasized and reemphasized Winters’ conclusions about the origin of the fire

because those conclusions were critical to its case.

       In fact, those conclusions were completely unscientific and unsupported. In 2019, John

Lentini reviewed the photographic evidence and testimony in this case and concluded,

unequivocally, that Winters’s “two points of origin” theory “is unsupportable by any generally

accepted methodology.” Lentini Affidavit at 9, Section III. According to Lentini, Winters’

methodology and conclusions are largely unsupported by the NFPA 921. Id. Winters made

basic errors in terminology. Id. at 20, 28-31. He “conflate[d] V-patterns with the fire’s origins.”

Id. at 16-18. He speculated significantly beyond what was called for by the facts. In fact,

according to Lentini, Inspector Winters “demonstrated by his testimony that he is not qualified to

investigate fires per NFPA 1033, the generally accepted industry standard.” Id at 9. After

reviewing this matter, Lentini concludes that “it is my professional opinion that the expert

testimony presented to the jury by Mr. Winters was unreliable, unscientific, and at odds with

generally accepted fire investigation methodology.” Id. at 32.

       This evidence would have had an enormous impact on Kayla Ayers’s trial. Without

Winters’ testimony, the State would have been left with only two pieces of circumstantial



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evidence. First, Kayla initially told investigators she saw Bubba setting the fire, but later

admitted that she had been asleep. Second, weeks before the fire, Kayla “jokingly” told her

father she would “burn this motherfucker down.” This is far from overwhelming evidence of

guilt. Ayers correctly suspected that her neighbors were trying to have her children taken away,

which explains why she was reluctant to admit she had been sleeping (with Bubba unattended)

prior to the fire. And Ayers’s “threat” was not a serious one. The comment was weeks before

the actual fire, and even the State’s own witness admitted that he did not think it was a genuine

threat.

          In fact, much of the circumstantial evidence points to Kayla’s innocence. Although the

State claimed Kayla’s motive was anger at her father, the fire was entirely limited to Kayla’s

own mattress. Kayla’s son knew how to work a lighter and he confirmed that his mother was

sleeping before the fire.6 And the only injury was to Kayla herself, who broke a glass and cut

her hand while trying to extinguish the fire. Without Winters’s unscientific testimony, the

remaining facts are completely consistent with an accidental fire, started by a curious and

unattended child. In fact, that explanation is far more plausible than the alternative: that, in

order to get revenge against her father, Kayla intentionally set fire to her own mattress and then

injured herself trying to extinguish it.

          The State needed Inspector Winters’ testimony to rule out an accidental cause of the fire.

Because Kayla’s attorneys did not hire their own expert, and because Kayla’s attorneys did not

object to Winters’ undisclosed conclusions at trial, neither the Court nor the jury ever heard the

serious flaws in Winters’ conclusions. The question is not whether the remaining evidence could



6
 The NFPA notes that young children can be particularly interested in playing with fire.
Between 2007 and 2011, children playing with fire set an average of 7,100 structure fires per
year.
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have theoretically supported a conviction. The question is not even whether there is a

“preponderance of evidence” that Winters’ conclusions affected the outcome. The question is

merely whether the failure to challenge Winters’ faulty testimony had a “reasonable probability”

of affecting the outcome. That standard is more than satisfied. There is, at minimum, a

reasonable probability that the defense’s failures affected the outcome of trial, and Ms. Ayers’s

Amended Petition for Writ of Habeas Corpus should be granted.

                  SECOND CLAIM: PROSECUTORIAL MISCONDUCT

       The State of Ohio solicited conclusions from Inspector Winters that it knew had never

been disclosed to the defense. In doing so, the State violated Ohio Crim.R.16(K), which is

specifically designed to prevent parties from conducting criminal trials by ambush, and upon

which Ayers relied as part of a fundamentally fair criminal trial. Furthermore, the State knew or

should have known that these conclusions were unsupported and false, and that Winters was not

qualified to offer them.

       The State’s duty is not to seek convictions, but to seek justice. Government misconduct

prejudices a defendant when there is a “reasonable probability” that, but-for the State’s

misconduct, the result of trial would have been different.[1]7 E.g., United States v. Agurs, 427

U.S. 97, 104, 96 S. Ct. 2392, 2397, 49 L. Ed. 2d 342 (1976). (“the Court has applied a strict

standard of materiality, not just because [these cases] involve prosecutorial misconduct, but more

importantly because they involve a corruption of the truth-seeking function of the trial

process.”). Furthermore, when the State knowingly presents (or fails to correct) false or

misleading evidence, the U.S. Constitution requires the conviction be vacated if there is any




7
  This prejudice standard is identical to the prejudice standard for ineffective assistance of
counsel, discussed in detail supra.
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probability that the misconduct affected the outcome. E.g., Napue v. Illinois, 360 U.S. 264

(1959).

          As explained in detail above, Ms. Ayers would have clearly benefited from

foreknowledge of Winters’ “two points of origin” theory, and she was prejudiced by the

presentation of these conclusions in violation of Crim.R.16(K). Furthermore, this was not a

situation where the State accidentally solicited previously undisclosed testimony—the State

specifically guided Mr. Winters to testify regarding his “two points of origin” theory, and that

theory was central to the State’s prepared closing remarks. Prosecutors knew exactly what had

and had not been disclosed to the defense. Ms. Ayers’s conviction was obtained by prosecutorial

misconduct, and the Court should grant her Amended Petition for Writ of Habeas Corpus.

                  THIRD CLAIM: VIOLATION OF DUE PROCESS:
          CONVICTION OBTAINED BY FUNDAMENTALLY UNRELIABLE AND
                   INHERENTLY UNTRUSTWORHY EVIDENCE

          “Fundamental fairness [is] essential to the very concept of justice.” Lisenba v.

California, 314, U.S. 219, 62 S.C. 280 (1941). It would be fundamentally unfair to sustain a

criminal conviction based on evidence now known to be false, unsupported, or fundamentally

unreliable. The Fourteenth Amendment to the United States Constitution is a “guarantee against

conviction on inherently untrustworthy evidence.” Stein v. New York, 346 U.S. 156, 192, 73 S.C.

1077, 1097, 97 L.Ed. 1522 (1953)(overruled on other grounds). The U.S. Constitution’s

guarantee of due process is violated “by the admission of certain categories of unreliable and

prejudicial evidence.” Barefoot v. Estelle, 463 U.S. 880, 925, 103 S. Ct. 3383, 3411, 77 L. Ed.

2d 1090 (1983)(J.Marshall, dissenting) citing Watkins v. Sowders, 449 U.S. 341, 347, 101 S.C.

654, 658, 66 L.Ed.2d 549 (1981) (“[i]t is the reliability of identification evidence that primarily

determines its admissibility”); Foster v. California, 394 U.S. 440, 89 S.C. 1127, 22 L.Ed.2d 402

(1969). For example, reliance on a coerced confession at trial should “vitiate” a conviction,

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because that evidence “combines the persuasiveness of apparent conclusiveness with what

judicial experience shows to be illusory and deceptive evidence.” Stein, 346 U.S. at 192. This

same reasoning has been directly applied to cases involving junk arson science. Han Tak Lee v.

Tennis, No. 4:08-CV-1972, 2014 WL 3894306, at *16 (M.D. Pa. June 13, 2014), report and

recommendation adopted sub nom. Lee v. Tennis, No. 4:CV-08-1972, 2014 WL 3900230 (M.D.

Pa. Aug. 8, 2014), aff'd sub nom. Han Tak Lee v. Houtzdale SCI, 798 F.3d 159 (3d Cir.

2015)(petitioner “met his burden of showing a due process violation in this case, since the

verdict in this matter rests almost entirely upon scientific pillars which have now eroded.”)

       Inspector Winters’s unsupported and unreliable testimony about the origin of the fire is

“unreliable and prejudicial” and “illusory or deceptive” evidence. Ms. Ayers’s conviction cannot

rest on this fundamentally unfair foundation. Sustaining her conviction, despite evidence that

Winters’s testimony was fundamentally unreliable, would deprive Ms. Ayers of due process of

law, and the Court should grant her Amended Petition for Writ of Habeas Corpus.

                         FOURTH CLAIM: ACTUAL INNOCENCE

       A truly persuasive demonstration of “actual innocence” made after trial renders the

conviction unconstitutional. Herrera v. Collins, 506 U.S. 390, 418, 113 S.C. 853, 122 L.Ed.2d

203 (1993). Newly discovered evidence demonstrates Ms. Ayers is actually innocent of the

charges for which she was convicted. Specifically, as included above, Inspector Winters’

testimony as regarding the origin of the fire was completely unsupported, and this unsupported

testimony was central to the State’s case against Ms. Ayers. Without Winters’s testimony, the

facts are more consistent with an accidental fire, caused by Brennan Jr., than they are with

intentional arson by Ms. Ayers. It is now more likely than not that a reasonable juror would not

convict Ms. Ayers of aggravated arson beyond a reasonable doubt. Her conviction is inconsistent



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with the U.S. Constitution’s guarantee of due process of law, and the Court should grant her

Amended Petition for Writ of Habeas Corpus.

                                             TIMELINESS

       Each of Ms. Ayers’s claims relies on evidence outside the record. Specifically, the

claims are supported by scientific evidence from an independent arson expert, obtained on July

29, 2019. Lentini Report. This date—July 29, 2019—is the “date on which the factual predicate

of the claim or claims presented could have been discovered through the exercise of due

diligence.” 28 U.S.C. 2244(d)(1)(D). Ms. Ayers’s Petition was filed within one year of that date

and is therefore timely.

       For ineffective assistance of counsel claims, the statute of limitations begins under 28

U.S.C. § 2244(d)(1)(D) “when the prisoner learned facts that supported a good faith basis for

arguing prejudice arising from ineffective assistance of counsel.” Perry v. Wainwright, No. 1:17-

CV-673, 2018 WL 6179499, at *9–10 (N.D. Ohio Nov. 27, 2018). In determining this date, the

statute “does not require the maximum feasible diligence, only ‘due,’ or reasonable, diligence.”

Granger v. Hurt, 90 F. App'x 97, 100 (6th Cir. 2004), citing Wims v. United States, 225 F.3d

186, 190 (2d Cir.2000). Although “due diligence” is an objective test, it does take into account

the specifics of the petitioner’s circumstances. Court should not, for example, “ignore[] the

reality of the prison system” or “impose[] an unreasonable burden on prisoners seeking to

appeal.” Granger at 100; see also Ford v. Gonzalez, 683 F.3d 1230, 1235–36 (9th Cir. 2012).

Furthermore, the Supreme Court has held that “due diligence” does not require petitioners root

out possible flaws that were hidden from them as a result of misconduct at trial. Banks v. Dretke,

540 U.S. 668, 695-96 (2004).




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       Ms. Ayers was twenty-three years old when she was wrongfully imprisoned. Although

she knew that she did not actually commit the crime, she had no way of knowing that Inspector

Winters’s “two points of origin” theory was inaccurate and unsupported. Even if it were

somehow “reasonable” for her to question the unchallenged expert testimony offered at trial,

there is no reason to believe that she would be able to educate herself on arson investigations

well enough to challenge the judgment of both Inspector Winters and her own attorneys. Ayers

Aff. at ¶¶3, 6-10. Eventually, the Ohio Innocence Project was able to investigate the case,

question Winters’s conclusions, and retain an expert—at its own cost—to review Winters’s

testimony. But this level of scrutiny was not inevitable; a thorough, cost-free review by an

independent scientific expert is not something prisoners can or should procure in every case as a

matter of routine diligence. Under the circumstances, it was reasonable for Ms. Ayers to trust

that her attorneys had investigated these forensic issues and consulted with independent arson

experts, pursuant to their obligations under the United States Constitution.

       Ms. Ayers’s trial attorneys failed her. They failed to retain or even consult with an

independent fire expert regarding the origin of the fire. They failed to meaningfully challenge

the State’s expert, Reginald Winters, and they failed to recognize the serious flaws in Winters’

opinions and qualifications. As a result of those failures, the jury was presented with a false

picture of the fire’s origin. Federal law does not require that the court put these failures on the

shoulders of a twenty-three-year old criminal defendant, nor should the court hold Ms. Ayers to a

higher standard of diligence and care than both the City of Massillon Fire Inspector and the

professional attorneys retained to investigate and challenge the claims against her. The

completion of the Lentini Report—July 29, 2019—is the date on which Ms. Ayers could have




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discovered the factual predicate of the claims through due diligence, and her Petition is therefore

timely.

          In the alternative, even if a different or earlier triggering date were to apply, the statute of

limitations would be subject to equitable tolling. Holland v. Florida, 560 U.S. 631, 130 S.Ct.

2549, 177 L.Ed.2d 130 (2010). The addition of a statute of limitations to habeas petitions in

1996 “did not seek to end every possible delay at all costs.” Id. at 649. Instead, federal courts

retain equitable authority to review the merits of a petition, notwithstanding the statute of

limitations, if (1) the petitioner “has been pursuing [her] rights diligently” and (2) “some

extraordinary circumstance stood in [her] way and prevented timely filing.” Id., citing Pace, 544

U.S., at 418.

          For the reasons stated above, Ms. Ayers has not intentionally or negligently delayed her

filing. To the contrary, she trusted that the State would not have introduced unscientific and

unsupported expert testimony against her, and she further trusted that her attorneys would have

examined and attacked any such testimony. But the State did in fact introduce inherently

untrustworthy evidence against her. And instead of challenged that evidence, her attorneys

conceded Winters’s flawed conclusions to a “scientific certainty.” These are exactly the sort of

“extraordinary circumstances” that should excuse a delayed filing.

          Finally, Ms. Ayers has presented credible evidence of her actual innocence. In

McQuiggin v. Perkins, the Supreme Court confirmed that “actual innocence, if proved, serves as

a gateway through which a petitioner may pass whether the impediment is a procedural

bar…or…expiration of the statute of limitations.” 133 S. Ct. 1924, 1928 (2013). The Court

clarified that “a federal habeas court, faced with an actual-innocence gateway claim, should

count unjustifiable delay on a habeas petitioner’s part, not as an absolute barrier to relief, but as a



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factor in determining whether actual innocence has been reliably shown.” Id. The Court also held

that habeas petitioners who asserts convincing actual-innocence claims do not have to prove

diligence to cross a federal court’s threshold, but timing is a relevant factor “in evaluating the

reliability of a petitioner’s proof of innocence.” Id. at 1935.

       Ms. Ayers has presented expert testimony proving that Inspector Winters’ “two points of

origin” theory—the primary basis for the State’s case against Ms. Ayers—was scientifically

inaccurate and unsupported. Ms. Ayers has consistently maintained her innocence, and for the

reasons explained above, it is now likely that no reasonable juror would convict her. A federal

writ of habeas corpus may be the last chance for Ms. Ayers to obtain justice in this case, and

justice requires hearing her claims on their merits.

                                          Prayer for Relief

       WHEREFORE, Petitioner Kayla Ayers respectfully requests this Court allow her to

expand the record pursuant to Rule 7 of the Rules Governing Section 2254 Cases in Federal

District Courts, order an evidentiary hearing, issue a writ of habeas corpus, and her release from

state custody with the conviction vacated, or for Ms. Ayers to be retried within 90 days. Further,

Ms. Ayers requests this Court grant such other relief that would be appropriate and to dispose of

the matters as law and justice require.

                                                       Respectfully submitted,

                                                       /s/ Brian C. Howe________________
                                                       Brian C. Howe
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                                CERTIFICATE OF SERVICE

       I hereby certify that on December 19, 2022, I electronically filed the foregoing First

Amended Petition for Writ of Habeas Corpus under 28 U.S.C. §2254 with the Clerk of Court

using the CM/ECF system, which will provide notice to counsel for Respondent.



                                                            /s/ Brian Howe____________
                                                            Attorney for Petitioner




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